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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          5:23-cv-01196-SVW-AJR                                          Date      March 12, 2024
 Title             Estate of Yareth Aguilar Villagomez et al v. County of Riverside et al




 Present: The Honorable             STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                 Paul M. Cruz                                   N/A
                 Deputy Clerk                        Court Reporter / Recorder                    Tape No.
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                              N/A                                                     N/A
 Proceedings:                 IN CHAMBERS ORDER RESTORING CASE TO ACTIVE CALENDAR


        In light of the fact that the previously represented settlement in no longer in place, the previously
set jury trial date of May 14, 2024, at 9:00 a.m., and pretrial conference of May 6, 2024, at 3:00 p.m. are
reinstated and the parties must proceed to trial. The parties can attempt to settle the case with mediation
or whatever means they wish.




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                                                               Initials of Preparer              PMC
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